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Name: Total Operating, LLC                                Case #:          16‐70245‐7

Part 1 Number 3 ‐ Checking, Savings, Money Market or Financial Brokerage Accounts


              Name of Institution      Type of Account     Last 4 Digits       Amount

      3.1 First State Bank            Checking                0009         $ 33,938.20

      3.3 Capital One                 Checking                2370         $     (553.94)

      3.4 Capital One                 Savings                 2389         $        12.03

                                                          Total            $ 33,396.29
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47.102   Shoule, WD6 6ft. Rock rake, 37007                                        Appraisal      $       2,500.00
47.103   2013, Modern, 15ft. Batwing Rotary Mower, 87125                          Appraisal      $       6,500.00
47.104   2013, Modern, 15ft. Batwing Rotary Mower, 84537                          Appraisal      $       6,500.00
47.105   2013, Modern 6ft. Rotary Mower, 85585                                    Appraisal      $       3,000.00
47.106   2012, Modern 6ft. Rotary Mower, 85587                                    Appraisal      $       3,000.00
47.107   2012, Modern 7ft. Rotary Mower, 56505                                    Appraisal      $       2,500.00
47.108   Brush Hog, PHD2101, 8in Auger, 1213253                                   Appraisal      $       1,500.00
47.109   Crary Bear Cat 3 Hydrolic Chipper, 600720                                Appraisal      $       2,500.00
 47.11   2011, Ford F250 Crew Cab, 1FT7W2BT4BED02266                            Comp Appraisal   $      22,000.00
                                                                                                 $   1,008,500.00
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